 Case 4:14-cv-00102-RAJ-TEM Document 1 Filed 08/13/14 Page 1 of 4 PageID# 1

                                                                                  J      L       IE   ia
                                                                            E
                            UNITED STATES DISTRICT COURT                           AUG I 3 2014
                            EASTERN DISTRICT OF VIRGINIA                                              y
                                NEWPORT NEWS DIVISION                         CLERK, U.S. DISTRICTCOURT
                                                                                    RICHMOND, VA

ROBERT VENABLE,
                                                             Case No.:   4:14CV102
       Plaintiff,
                                                             PLAINTIFF"S COMPLAINT
       v.



GC SERVICES LIMITED PARTNERSHIP,-

       Defendant.


                                         COMPLAINT


       ROBERT VENABLE ("Plaintiff), through his attorneys, alleges the following against

GC SERVICES LIMITED PARTNERSHIP, ("Defendant"):

                                       INTRODUCTION


        1.      Plaintiffs Complaint is based on the Fair Debt Collection Practices Act, 15

U.S.C. § 1692 etseq. ("FDCPA").

                                JURISDICTION AND VENUE


        2.      Jurisdiction of this court arises pursuant to 15 U.S.C. § 1692k(d), which states

that such actions may be brought and heard before "any appropriate United States district court

without regard to the amount in controversy/'

        3.      Defendant conducts business in the State of Virginia thereby establishing personal

jurisdiction.

        4.      Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).

                                            PARTIES


        5.      Plaintiff is a natural person residing in Lanexa, James City County, Virginia.
 Case 4:14-cv-00102-RAJ-TEM Document 1 Filed 08/13/14 Page 2 of 4 PageID# 2




       6.      Plaintiff owes or allegedly owes a debt as that term is defined by 15 U.S.C. §

1692a(5) and is a consumer as that term is defined by 15 U.S.C. § 1692a(3).

       7.      Defendant is a business entity with an office located 6330 Gulfton St., Houston,

Texas 77081.


       8.      Defendant, in the ordinary course of business, regularly, on behalf of itself or

others, engages in debt collection.

       9.      Defendant is a debt collector as that term is defined by 15 U.S.C. § 1692a(6), and

sought to collect a consumer debt from Plaintiff.

       10.     Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.

                                   FACTUAL ALLEGATIONS


        11.    Prior to the filing of this action, an account was placed with Defendant by a non

party to collect monies from Plaintiff alleged to be owed and past due ("debt").

        12.    The alleged debt arises from transactions on a Citibank credit card which was for

personal, family and household purposes.

        13.     In or around February 2014, Defendant started its attempts to collect the alleged

debt which included written letters and placing telephone calls ("collection calls") to Plaintiff on

his cellular telephone, at telephone number (757) 741-19xx.

        14.     In or around April 2014, Defendant placed a collection call to Plaintiff, which he

was not able to answer.


        15.     Accordingly, Defendant recorded a message for Plaintiff which stated:

                Hello, this message is for Robert Venable, my name is (individual
                name), I would appreciate you calling me back. You can reach me
                at 866-391-0768, extension 5032. Thank you.
  Case 4:14-cv-00102-RAJ-TEM Document 1 Filed 08/13/14 Page 3 of 4 PageID# 3




        16.    Defendant left at least two (2) more identical messages for Plaintiff.

        17.    Defendant stated that its message was for Plaintiff and asked Plaintiff to return the

call to telephone number (866) 391-0768, which is a telephone number assigned to Defendant.

        18.    Defendant message never identified its business name in its message.

        19.    Defendant's message also failed to inform Plaintiff that it is a debt collector.

        20.    Defendant's sole purpose in calling Plaintiff and leaving a recorded message was

in connection with its attempts to collect the alleged debt.

        21.    Defendant uses deceptive and misleading in connection with its attempts to

collect the alleged debt by not identifying itself, the purpose of its phone calls, or that it is a debt

collector.


                                              COUNTI
     DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

        22.    Defendant violated the FDCPA based on the following:

               a.      Defendant violated § 1692d of the FDCPA by engaging in conduct the

                       natural consequence of which is to annoy Plaintiff.

                b.     Defendant violated § 1692d(6) of the FDCPA by failing to provide

                        Plaintiff with its identity in its messages for Plaintiff;

                c.      Defendant violated §1692e(10) of the FDCPA by using deceptive means

                       to attempt to collect the debt; and

                d.      Defendant violated §1692e(l 1) of the FDCPA by failing to disclose in its

                        messages that it is a debt collector.

        WHEREFORE, Plaintiff, ROBERT VENABLE, respectfully requests judgment be

entered against Defendant, GC SERVICES LIMITED PARTNERSHIP, for the following:
  Case 4:14-cv-00102-RAJ-TEM Document 1 Filed 08/13/14 Page 4 of 4 PageID# 4




         23.   Statutory damages pursuant to the Fair Debt Collection Practices Act, 15 U.S.C.

1692k,

         24.   Costs and reasonable attorneys' fees pursuant to the Fair Debt Collection

Practices Act, 15 U.S.C. 1692k

         25.   Any other relief that this Honorable Court deems appropriate.


                                            RESPECTFULLY SUBMITTED,
DATED:




                                            Riphard W. Ferris, Esq.
                                            VSB# 31812
                                            530 East Main Street
                                            Suite 1020
                                            Richmond, VA 23219
                                            (804)767-1800
                                            (888) 251-6228 FAX
                                            rwferris@ferriswinder.com
